               Case 3:19-cr-00306-WHO Document 2 Filed 07/11/19 Page 1 of 2




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 9
                                      UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                           NO.:

14           Plaintiff,                                   CR           19               30 6
15      V.                                               GOVERNMENT'S MOTION FOR SEALING

16   FRANCISCO PADILLA,
                                                         ORDER
                                                                                                   Who
17
             Defendant.
18

19

20           The United States, by and through its counsel, Assistant United States Attorney Ryan Rezaei,

21   hereby moves this Court for an order sealing the government's application for a sealing order, the

22   sealing order, the indictment and arrest warrant in the above-referenced case until further order ofthe
23   court. Disclosure of the specified documents might jeopardize the defendants' arrest and the progress of

24   this ongoing investigation that is neither public nor known to unidentijfied co-conspirators ofthe
25   investigation.

26           Accordingly, the United States requests that the Court seal these documents until further order of

27   the court, except that the Clerk of Court shall provide copies ofthe sealed documents to employees^f
28   the UnitedStates Attorney's Office. The United StatesAttorney's Office is permitted to sharethese/^

     GOVERNMENT'S MOTION FOR SEALING                      1                                v. 7/10/2018
     ORDER
Case 3:19-cr-00306-WHO Document 2 Filed 07/11/19 Page 2 of 2
